      Case
MIED (Rev.       1:18-cv-12176-TLL-PTM
           5/05) Statement of Disclosure of Corporate Affiliations ECF     No.Interest
                                                                   and Financial 4       filed 07/19/18           PageID.61   Page 1 of 1
                                                       UNITED STATES DISTRICT COURT
                                                       EASTERN DISTRICT OF MICHIGAN


 Frankemuth Credit Union
                                                                                                                  1:18-cv-12176
                        Plaintiff(s),                                               Case No.

v.                                                                                  Judge                         Ludington

                                                                                    Magistrate Judge              Morris
Randall Anderson, et al.
                        Defendant(s).
                                                                            /

                                          STATEMENT OF DISCLOSURE
                                OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

            Pursuant to E. D. Mich. LR 83.4,                   Jones Pre-Owned Auto Sales, LLC
                                                                                                [Name of Party]

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.          Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
            Yes “                      X
                                    No “

            If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
            between it and the named party.

            Parent Corporation/Affiliate Name:
            Relationship with Named Party:

2.          Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
            interest in the outcome of the litigation?

            Yes “                   No “  X
            If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

            Parent Corporation/Affiliate Name:
            Nature of Financial Interest:


Date:
            July 19, 2018                                                /s/Allison L. Harrison
                                                                        Signature
                                                                         P75345
                                                                        Bar No.
                                                                        100 E Broad St, Suite 320                                `
                                                                        Street Address
                                                                         Columbus, OH 43215
                                                                        City, State, Zip Code
                                                                         (614)440-1395
                                                                        Telephone Number
                                                                         aharrison@alharrisonlaw.com
                                                                        Primary Email Address
